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                      UNITED STATES DISTRICT COURT
                                  for the
                         DISTRICT OF NEW JERSEY



      UNITED STATES OF AMERICA                          Criminal No. 08-327


                      vs.                                Order of Reassignment


           ANDREW MEROLA, et al.




   It is on this   13TH   day of May, 2008

   O R D E R E D that the entitled action is reassigned from

  JUDGE STANLEY R. CHESLER TO JUDGE SUSAN D. WIGENTON.




                                      S/Garrett E. Brown, Jr.
                                    GARRETT E. BROWN, JR. CHIEF JUDGE
                                     UNITED STATES DISTRICT COURT
